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 9                                   UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11                                        SAN FRANCISCO DIVISION

12
     UNITED STATES OF AMERICA,                        ) CASE NO. CR 20-337 WHO
13                                                    )
             Plaintiff,                               ) PROPOSED VERDICT FORM
14                                                    )
        v.                                            )
15                                                    )
     JOSEPH SULLIVAN,                                 )
16                                                    )
             Defendant.                               )
17                                                    )
                                                      )
18
             The government submits the attached proposed verdict form. The government has conferred
19
     with defense counsel, and the defense does not object to this form.
20

21 DATED: September 26, 2022                             Respectfully submitted,
22                                                       STEPHANIE M. HINDS
23                                                       United States Attorney

24                                                        /s/
                                                         ANDREW F. DAWSON
25                                                       BENJAMIN KINGSLEY
                                                         Assistant United States Attorneys
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27

28

     PROPOSED VERDICT FORM
     CR 20-337 WHO
              Case 3:20-cr-00337-WHO Document 216 Filed 09/26/22 Page 2 of 2




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 4                                   UNITED STATES DISTRICT COURT

 5                                NORTHERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                         ) CASE NO. CR 20-337 WHO
                                                       )
 8           Plaintiff,                                ) VERDICT FORM
                                                       )
 9      v.                                             )
                                                       )
10   JOSEPH SULLIVAN,                                  )
                                                       )
11           Defendant.                                )
                                                       )
12                                                     )

13           We, the members of the Jury in this action, have reached the following unanimous verdict with
14 respect to each Count of the Indictment:

15

16 Count One:              (Obstruction of Proceedings Before a Department or Agency of the United States,
17                         in violation of 18 U.S.C. § 1505)
18           We find the defendant, Joseph Sullivan:
19

20                   Guilty__________                    Not Guilty__________
21

22 Count Two:              (Misprision of Felony, in violation of 18 U.S.C. § 4)
23           We find the defendant, Joseph Sullivan:
24

25                   Guilty__________                    Not Guilty__________
26

27
     DATED:
28                                                       JURY FOREPERSON

     PROPOSED VERDICT FORM
     CR 20-337 WHO                                       2
